                                   UNITED STATES BANKRUPTCY COURT
                                     EASTERN DIVISION OF MICHIGAN

IN RE,                                                             CHAPTER 9
CITY OF DETROIT, MICHIGAN                                          CASE NO. 13-53846
       Debtor.                                                     HON. STEVEN W. RHODES

______________________________/




                                                     APPEARANCE

        Melissa L. Demorest of Demorest Law Firm, PLLC submits this appearance as counsel
for creditor John Denis (an individual) in the above-captioned case. Please direct all pleadings
and correspondence to the attention of the undersigned.

                                                            Respectfully submitted,


                                                            _/s/ Melissa L. Demorest
                                                            Mark S. Demorest (P35912)
                                                            Melissa L. Demorest (P68867)
                                                            Demorest Law Firm, PLLC
                                                            Attorneys for creditor
                                                                   John Denis
                                                                   (an individual)
                                                            322 West Lincoln Ave.
                                                            Royal Oak, MI 48067
                                                            248-723-5500
                                                            melissa@demolaw.com

Dated: August 15, 2013

City of Detroit bankruptcy:Appearance (Denis).docx




   13-53846-tjt         Doc 326         Filed 08/15/13    Entered 08/15/13 14:25:42   Page 1 of 1
